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 6
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 7 United States of America

 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                            CASE NO. 2:08-CR-093

12                                 Plaintiff,             STIPULATION AND ORDER RE: MENTAL
                                                          COMPETENCY
13                          v.
                                                          DATE: March 25, 2015
14   ANH NGUYEN,                                          TIME: 9:00 a.m.
                                                          COURT: Hon. Kimberly J. Mueller
15
                                  Defendant.
16

17
            The parties, by and through their respective attorneys, stipulate and agree that:
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            The defense has previously provided a report to the Court offering the opinion that the defendant
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     is not competent to stand trial and will not likely regain competency. ECF 993, 994. That report has
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     been received by the Court and filed under seal. Id. The government requested, and the Court ordered,
21
     an evaluation by a second expert. ECF 1082, 1085, 1095.
22
            The government has received the report from the second expert. Exh 1.1
23
            In light of the information contained in the two reports, the parties stipulate and request that the
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     Court find:
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            (a) That the defendant is presently suffering from a mental disease or defect rendering him
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27          1
            The government will file a request, contemporaneously with this stipulation, that Exhibit 1 be
28 filed under seal.


      STIP AND PROPOSED ORDER RE COMPETENCY               1
            Case 2:08-cr-00093-KJM Document 1309 Filed 03/19/15 Page 2 of 2

 1             unable to understand the nature and consequences of the proceedings against him;

 2         (b) That the defendant is presently suffering from a mental disease or defect rendering him

 3             unable to assist properly in his defense;

 4         (c) That both experts have concluded that there is no reasonable likelihood that the defendant

 5             will recover his competency to assist in his defense or understand the nature of the

 6             proceedings against him.

 7 18 U.S.C. § 4241(d).

 8

 9                SO STIPULATED

10 Dated: March 16, 2015                                       BENJAMIN B. WAGNER
                                                               United States Attorney
11

12                                                   By: /s/ MATTHEW G. MORRIS
                                                         MATTHEW G. MORRIS
13                                                       MICHAEL D. ANDERSON
                                                         Assistant United States Attorneys
14

15 Dated: March 16, 2015                             By: /s/ MICHAEL LONG (auth by email)
                                                        MICHAEL LONG
16                                                      Attorney for Anh Nguyen
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18
                  SO ORDERED
19
     Dated: March 19, 2015                           By:
20                                                         UNITED STATES DISTRICT JUDGE
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      STIP AND PROPOSED ORDER RE COMPETENCY                2
